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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

Odillia Mutaka Mwani, et al.                  :
                                              :
       Plaintiffs                             :      CA No. 1:99CV00125
                                                     Judge Colleen Kollar-Kotelly
v.                                            :
                                              :
United States of America, et al.              :
                                              :      Magistrate Judge Harvey- For all purposes
                                              :
       Defendants                             :


                    PLAINTIFFS’ MOTION FOR STATUS CONFERENCE

       COME NOW plaintiffs, by and though undersigned counsel, and move this Honorable

Court for an order scheduling a status conference, and in support therefor respectfully refer this

Honorable Court to the annexed memorandum of points and authorities.

       WHEREFORE, by all these presents, counsel for plaintiff prays that the instant motion be

granted.



                                              Respectfully submitted,



                                                     /s/
                                              Philip M. Musolino #294652
                                              Musolino & Dessel PLLC
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                                              Washington, D.C. 20036
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                                CERTIFICATE OF SERVICE

      I certify that an electronic copy of this motion was served on all ECF parties through the
ECF system this 18th day of January 2021.

                                                          /s/
                                             Philip M. Musolino




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Odillia Mutaka Mwani, et al.                 :
                                             :
       Plaintiffs                            :      CA No. 1:99CV00125
                                                    Judge Colleen Kollar-Kotelly
v.                                           :
                                             :
United States of America, et al.             :
                                             :      Magistrate Judge G. Harvey- all purposes
                                             :
       Defendants                            :


                                       ORDER

       This matter having come before this court on plaintiffs’ motion for an order setting a

status conference, it is, for good cause shown this ___day of ______ 2021:

       ORDERED, that the instant motion be and is hereby GRANTED, and it is

       FURTHER ORDERED, that a status conference is set for _______, 2021 at ______

                                             SO ORDERED.



                                             ________________________________
                                             Michael G. Harvey
                                             United States Magistrate Judge
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

Odillia Mutaka Mwani, et al.                  :
                                              :
       Plaintiffs                             :       CA No. 1:99CV00125
                                                      Judge Colleen Kollar-Kotelly
v.                                            :
                                              :
United States of America, et al.              :
                                              :       Magistrate Judge Harvey- For all purposes
                                              :
       Defendants                             :


          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
              PLAINTIFFS’MOTION FOR STATUS CONFERENCE

       On September 25, 2014 and November 18, 2014, 374 plaintiffs secured judgments in the

approximate amount of $65.2 billion against Al Qaeda for its role in the August 7, 1998 bombing

of the United States Embassy in Nairobi, Kenya. Since the entry of those judgments, judicial and

legislative events have affected both the collection of the judgments – which has so far been

unsuccessful – and the development of additional claims or rights.

       Plaintiffs therefore ask the Court to set a status hearing in order to schedule briefing on

pertinent issues, and to identify those parties, former parties and non-parties to whom notice and

an opportunity to respond should be provided.

       Plaintiffs will ask for a briefing schedule on the following issues:

       1. the effect of the Sudan Claims Resolution Act (December 21, 2020) on the rights and

entitlements of Plaintiffs;

       2. reconsideration of the denial of wrongful death and survivor claims as a consequence

of subsequent rulings in other terrorism-related litigation;




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       3. the initiation of post-judgment discovery, including discovery directed at or related to

foreign states such as the Republic of Sudan and the Islamic Republic of Iran, and certain

commercial banks;

       4. the initiation of pre-filing discovery, including discovery directed at or related to

foreign states such as the Republic of Sudan, and certain commercial banks;

       5. the reopening of claims against foreign states, such as the Republic of Sudan;

       6. leave to amend the complaint to add additional defendants, including foreign states and

certain commercial banks, on the basis of newly-disclosed evidence, and for other reasons;

       7. the jurisdiction of this Court over claims related to proceeds frozen by the Office of

Foreign Assets Control; and

       8. The justification for certification of class actions for claims against new defendants.

       A status conference will enable plaintiffs, the Court and interested parties the opportunity

to schedule the presentation and disposition of these issues in an orderly fashion.



                                               Respectfully submitted,



                                                     /s/
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